                    Case
                     Case23-30960
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                                             36 Filed
                                                  FiledininTXSB
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Fill in this information to identify the case:

Debtor name         Sourcewater, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     23-30960
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 14, 2023                  X /s/ Joshua A. Adler
                                                           Signature of individual signing on behalf of debtor

                                                            Joshua A. Adler
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                      Case
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 Fill in this information to identify the case:
 Debtor name Sourcewater, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                          Check if this is an

 Case number (if known):        23-30960                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Crown Oil Partners                                  Convertible Note                                                                                          $150,000.00
 LP
 PO Box
 Midland, TX 79710
 William Crump                                       Convertible Note                                                                                            $75,000.00
 Holdings LLC
 PO Box 50820
 Midland, TX 79710
 AZA - Ahmad,                                        Professional                                                                                                $55,760.62
 Zavitsanos,                                         Services
 Anaipakos
 1221 McKinney
 Suite 2500
 Houston, TX 77010
 Tony Annunziato                                     Convertible Note                                                                                            $50,000.00
 403 W. Cowan Drive
 Houston, TX 77007
 John K. Hoskinson                                   Convertible Note                                                                                            $50,000.00
 888 17th Street NW
 Suite 210
 Washington, DC
 20006-3313
 Amegy Bank                                          Credit Card                                                                                                 $49,304.77
 Bankcard Center
 PO Box 25787
 Salt Lake City, UT
 84125-0787
 Cuebiq Inc.                                         Trade Debt                                                                                                  $43,000.00
 1460 Broadway
 Suite 15006
 New York, NY 10036
 Medler Ferro                                        Professional                                                                                                $29,489.95
 Woodhouse & Mills                                   Services
 PLC
 8201 Greensboro
 Drive
 Suite 1060
 McLean, VA 22102

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                      Case
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 Debtor    Sourcewater, Inc.                                                                         Case number (if known)         23-30960
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Skip McBride                                        Convertible Note                                                                                            $25,000.00
 807 Old Lake Road
 Houston, TX 77057
 HUBSPOT                                             Trade Debt                                                                                                  $19,800.00
 25 1st Street
 Cambridge, MA
 02141
 QipWorks, Inc.                                      Trade Debt                                                                                                  $19,385.00
 101 Arch Street
 8th Floor
 Boston, MA 02110
 Bonafide                                            Trade Debt                                                                                                  $13,500.00
 5318 Weslayan
 Street
 Suite 128
 Houston, TX 77005
 Flash Data LLC                                      Trade Debt                                                                                                  $12,537.95
 2450 Louisiana
 Street
 400-160
 Houston, TX 77006
 Texas Comptroller                                   Sales and Use Tax Contingent                                                                                $10,907.99
 of Public Accounts
 PO Box 13528
 Capital Station
 Austin, TX
 78711-3528
 Amy Stewart Law                                     Professional                                                                                                $10,752.50
 5307 East                                           Services
 Mockingbird Lane
 Suite 425
 Dallas, TX 75206
 DW House LLC                                        Trade Debt                                                                                                  $10,050.00
 2429 Bissonnet
 Street
 #497
 Houston, TX 77005
 Scaleview                                           Trade Debt                                                                                                    $8,333.33
 701 Brazos Street
 #530
 Austin, TX 78701
 Dunlap Codding                                      Professional                                                                                                  $8,000.00
 609 W. Sheridan                                     Services
 Avenue
 Oklahoma City, OK
 73102
 ChurnZero, Inc.                                     Trade Debt                                                                                                    $6,000.00
 4114 Blackthorn
 Street
 Chevy Chase, MD
 20815



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                      Case
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 Debtor    Sourcewater, Inc.                                                                         Case number (if known)         23-30960
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Veraset LLC                                         Trade Debt                                                                                                    $5,500.00
 2810 N Church
 Street
 #38188
 Wilmington, DE
 19802




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                          Case
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 Fill in this information to identify the case:

 Debtor name            Sourcewater, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               23-30960
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           243,168.13

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           243,168.13


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,110,488.66


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           111,230.34

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           723,401.15


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,945,120.15




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                           §
                                                                  Case No. 23-30960
                                                  §
 Sourcewater, Inc. dba Sourcenergy,               §
                                                                      Chapter 11
                                                  §
                                                                     Subchapter V
            Debtor.                               §


 GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES REGARDING
      THE DEBTOR’S SCHEDULES OF ASSETS AND LIABILITIES AND
                 STATEMENT OF FINANCIAL AFFAIRS


          Sourcewater Energy, Inc. dba Sourcenergy (“Sourcewater” or “Debtor”) as debtor in this

chapter 11 case, with the assistance of its advisors, filed its Schedules of Assets and Liabilities

(“Schedules”) and Statement of Financial Affairs (“Statement”) (jointly, “Statement and

Schedules”) with the United States Bankruptcy Court for the Southern District of Texas, Houston

Division (“Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code, 11

U.S.C. §§ 101-1532 (“Bankruptcy Code”), and Rule 1007 of the Federal Rules of Bankruptcy

Procedure (“Bankruptcy Rules”).

          These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s

Schedules of Assets and Liabilities and Statement of Financial Affairs (“Global Notes”) pertain

to, are incorporated by reference in, and compromise an integral part of all of the Debtor’s

Statement and Schedules. The Global Notes should be referred to, considered, and reviewed in

connection with any review of the Statement and Schedules.

          The Statement and Schedules do not purport to represent financial statements prepared in

accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor

are they intended to be fully reconciled with the financial statements of the Debtor. Additionally,
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the Statement and Schedules contain unaudited information that is subject to further review,

potential adjustment, and reflect the Debtor’s commercially reasonable efforts to report its assets

and liabilities.

                            Global Notes and Overview of Methodology

        1.         Reservation of Rights. Reasonable efforts have been made to prepare and file

complete and accurate Statement and Schedules; however, inadvertent errors or omissions may

exist. The Debtor reserves all rights to amend or supplement the Statement and Schedules from

time to time.

        2.         Valuation Methodologies. The cost to value the Debtor’s patents was not

commercially feasible, and the Debtor therefore listed the values as unknown.

        3.         Causes of Action. Despite its commercially reasonable efforts to identify all

known assets, the Debtor may not have listed all of its causes of action or potential causes of action

against third-parties as assets in the Statement and Schedules, including, without limitation, causes

of actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant

non-bankruptcy laws to recover assets or avoid transfers.

        4.         Global Notes Control. In the event that the Statement and Schedules differ from

these Global Notes, the Global Notes control.

        5.         Schedule A/B. As stated in the Valuation Methodologies, the Debtor had

insufficient capital to value the patents, software, and domain names. The book value of the patent

portfolio as a whole is approximately $640,000.

        6.         Schedule D. The schedules do not account for disputes relating to the liens,

including avoidance actions or issues relating to proper perfection of liens.
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       7.     Schedule F. As of the filing of the Schedules, certain dollar amounts for individual

creditors was not known. As relevant documents are reviewed, the Debtor may supplement and

amend the schedules.

       Dated: April 14, 2023

                                            Sourcewater, Inc.,
                                            a Delaware corporation


                                            By:     /s/ Joshua Adler
                                                    Joshua Adler, CEO
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Fill in this information to identify the case:

Debtor name         Sourcewater, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)       23-30960
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Amegy Bank, N.A.
                   PO Box 26547
          3.1.     Salt Lake City, UT 84126                          Checking                              6048                                     $7,729.83


                   TD Bank
                   2035 Limestone Road
          3.2.     Wilmington, DE 19808                              Checking                              5650                                     $1,510.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $9,239.83
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                   Case
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Debtor        Sourcewater, Inc.                                                            Case number (If known) 23-30960
              Name


           11a. 90 days old or less:                     6,907.20       -                                 0.00 = ....             $6,907.20
                                       face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                     369,234.20        -                        184,617.10 =....              $184,617.10
                                       face amount                           doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                  $191,524.30
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:       Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


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Debtor      Sourcewater, Inc.                                                 Case number (If known) 23-30960
            Name

         General description                                  Net book value of      Valuation method used      Current value of
                                                              debtor's interest      for current value          debtor's interest
                                                              (Where available)

60.      Patents, copyrights, trademarks, and trade secrets
         COMPUTERIZED TECHNIQUES FOR
         FACILITATING EXCHANGE OF A WATER
         RESOURCE
         US Patent Application # 14/864,305 | patent
         pending                                                            $0.00                                          Unknown


         OILFIELD WATER MANAGEMENT
         US Patent Application # 14/837,930 | Patent #
         10565540                                                           $0.00                                          Unknown


         OILFIELD WATER MANAGEMENT
         US Patent Application # 16/790,887 | Patent
         Pending                                                            $0.00                                          Unknown


         OILFIELD WATER MANAGEMENT
         US Patent Application # 17/350,566 | Patent #
         11556882                                                           $0.00                                          Unknown


         OILFIELD WATER MANAGEMENT
         US Patent Application # 18/154,473 | Patent
         Pending                                                            $0.00                                          Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD ANALYSIS
         US Patent Application # 16/425,192 | Patent #
         10467473                                                           $0.00                                          Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD ANALYSIS
         US Patent Application # 16/663,724 | Patent #
         10726263                                                           $0.00                                          Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD ANALYSIS USING JOINT
         IMAGE IDENTIFICATION
         US Patent Application # 16/425,227 | Patent #
         10460169                                                           $0.00                                          Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD ANALYSIS USING JOINT
         IMAGE IDENTIFICATION
         US Patent Application # 16/663,753 | Patent #
         10915751                                                           $0.00                                          Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD ANALYSIS USING JOINT
         IMAGE IDENTIFICATION
         US Patent Application # 17/168,600 | Patent
         Pending                                                            $0.00                                          Unknown


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               Case
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Debtor      Sourcewater, Inc.                                             Case number (If known) 23-30960
            Name



         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR ENERGY INFRASTRUCTURE ANALYSIS
         USING PRE-
         US Patent Application # 16/289,376 | Patent #
         10339646                                                        $0.00                              Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR ENERGY INFRASTRUCTURE ANALYSIS
         USING PRE-
         US Patent Application # 16/457,065 | Patent #
         11004192                                                        $0.00                              Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR ENERGY INFRASTRUCTURE ANALYSIS
         USING PRE-
         US Patent Application # 17/314,556 | Patent #
         11379971                                                        $0.00                              Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD STATUS ANALYSIS
         US Patent Application # 16/425,235 | Patent #
         10460170                                                        $0.00                              Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD STATUS ANALYSIS
         US Patent Application # 16/663,769 | Patent #
         10719708                                                        $0.00                              Unknown


         IMAGE PROCESSING OF AERIAL IMAGERY
         FOR OILFIELD STATUS ANALYSIS
         US Patent Application # 16/932,078 | Patent
         Pending                                                         $0.00                              Unknown


         ROUTING OF FLUID PIPELINES
         US Patent Application # 17/665,098 | Patent
         Pending                                                         $0.00                              Unknown


         IDENTIFICATION AND VALIDATION OF
         ROADS USING AERIAL IMAGERY AND
         MOBILE LOCATION
         Canadian Patent Application # 3,146,294 |
         Patent Pending                                                  $0.00                              Unknown


         IDENTIFICATION AND VALIDATION OF
         ROADS USING AERIAL IMAGERY AND
         MOBILE LOCATION
         European Patent Application # 20 750 910.0 |
         Patent Pending                                                  $0.00                              Unknown




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                   page 4
               Case
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Debtor      Sourcewater, Inc.                                             Case number (If known) 23-30960
            Name

         IDENTIFICATION AND VALIDATION OF
         ROADS USING AERIAL IMAGERY AND
         MOBILE LOCATION
         US Patent Application # 16/506,446 | Patent #
         10635904                                                        $0.00                              Unknown


         IDENTIFICATION AND VALIDATION OF
         ROADS USING AERIAL IMAGERY AND
         MOBILE LOCATION ...
         US Patent Application # 16/857,638 | Patent #
         11048937                                                        $0.00                              Unknown


         IDENTIFICATION AND VALIDATION OF
         ROADS USING AERIAL IMAGERY AND
         MOBILE LOCATION ...
         US Patent Application # 17/358,685 | Patent
         Pending                                                         $0.00                              Unknown


         SYSTEMS AND METHODS FOR
         CHARACTERIZING SUBSTANCE TRANSFER
         STATIONS
         US Patent Application # 16/541,543 | Patent
         Pending                                                         $0.00                              Unknown


         DETERMINATION OF REFINED OILFIELD
         WATER DISPOSAL LOCATIONS BASED
         US Patent Application # 16/670,080 | Patent #
         10810688                                                        $0.00                              Unknown


         SYSTEM AND METHOD FOR MONITORING
         DISPOSAL OF WASTEWATER IN ONE OR
         MORE DISPOSAL ...
         US Patent Application # 16/583,737 | Patent #
         10975667                                                        $0.00                              Unknown


         LOCATION BASED INTELLIGENCE FOR
         OILFIELD INFORMATION PLATFORMS
         US Patent Application # 17/145,892 | Patent #
         11184740                                                        $0.00                              Unknown


         LOCATION DATA BASED INTELLIGENCE FOR
         SUPPLY CHAIN INFORMATION PLATFORMS
         US Patent Application # 17/532,505 | Patent #
         11601785                                                        $0.00                              Unknown


         LOCATION DATA BASED INTELLIGENCE FOR
         SUPPLY CHAIN INFORMATION PLATFORMS
         US Patent Application # 18/178,074 | Patent
         Pending                                                         $0.00                              Unknown


         SYSTEMS AND METHODS FOR ASSESSING
         SEISMIC RISK
         US Patent Application # 17/384,098 | Patent #
         11333792                                                        $0.00                              Unknown

Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                   page 5
               Case
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            Name



         SYSTEMS AND METHODS FOR ASSESSING
         SEISMIC RISK
         US Patent Application # 17/745,393 | Patent
         Pending                                                            $0.00                              Unknown


         SYSTEMS AND METHODS FOR ASSESSING
         SEISMIC RISK
         US Patent Application # PCT/US2022/29658 |
         Patent Pending                                                     $0.00                              Unknown



61.      Internet domain names and websites
         www.sourcewater.com                                                $0.00                              Unknown


         www.sourcenergy.com                                                $0.00                              Unknown


         www.drillmap.com                                                   $0.00                              Unknown


         www.santaritawater.com                                             $0.00                              Unknown


         www.sourcewater.io                                                 $0.00                              Unknown


         www.dirtworkalert.com                                              $0.00                              Unknown


         www.prepermit.com                                                  $0.00                              Unknown


         www.dirtworkalerts.com                                             $0.00                              Unknown


         www.swdprepermit.com                                               $0.00                              Unknown


         www.pre-permit.com                                                 $0.00                              Unknown


         www.permianalerts.com                                              $0.00                              Unknown


         www.energy-alerts.com                                              $0.00                              Unknown


         www.oilfieldalerts.com                                             $0.00                              Unknown


         www.fracvision.com                                                 $0.00                              Unknown


         www.fracalert.com                                                  $0.00                              Unknown


         www.fracsat.com                                                    $0.00                              Unknown


         www.fracscape.com                                                  $0.00                              Unknown

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              Name



           www.sourcenergy.co                                                            $0.00                                          Unknown


           www.sourcenergy.info                                                          $0.00                                          Unknown


           www.sourcenergy.io                                                            $0.00                                          Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer List                                                                 $0.00                                          Unknown



64.        Other intangibles, or intellectual property
           Sourcewater Pro/Watermap Pro Software                                         $0.00                                          Unknown


           Sourcewater GEO/Watermap GEO Software                                         $0.00                                          Unknown


           Dirtwork Alert Software                                                       $0.00                                          Unknown


           Fracscape Software                                                            $0.00                                          Unknown



65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 7
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Debtor       Sourcewater, Inc.                                                      Case number (If known) 23-30960
             Name

         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

         Business Owner's Policy - The Hartford                                                                         Unknown



         D&O Insurance: Scottsdale Indeminity                                                                           Unknown


         Media Tech Liability and General Liability - Beazley
         Media Tech                                                                                                     Unknown



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

         Enverus                                                                                                        Unknown
         Nature of claim               Potential Causes of Action
         Amount requested                                  $0.00



         Jay "North" Whipple                                                                                            Unknown
         Nature of claim               Potential Causes of Action
         Amount requested                                  $0.00



         Ponderosa Advisors, LLC dba B3 Insight                                                                         Unknown
         Nature of claim       Potential Causes of Action
         Amount requested                          $0.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Amazon Web Services New Customer Credit
         (non-transferable)                                                                                            $42,404.00




78.      Total of Part 11.                                                                                            $42,404.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




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Debtor          Sourcewater, Inc.                                                                                   Case number (If known) 23-30960
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $9,239.83

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $191,524.30

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $42,404.00

91. Total. Add lines 80 through 90 for each column                                                            $243,168.13           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $243,168.13




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Fill in this information to identify the case:

Debtor name         Sourcewater, Inc.

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF TEXAS

Case number (if known)             23-30960
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Energy Debt Holdings, LLC                    Describe debtor's property that is subject to a lien                 $529,152.61                  Unknown
      Creditor's Name                              All tangible and intangible property
      PO Box 249
      Oklahoma City, OK 73101
      Creditor's mailing address                   Describe the lien
                                                   Senior Secured Note
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/22/2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Joshua A. Adler                              Describe debtor's property that is subject to a lien               $1,089,014.05                  Unknown
      Creditor's Name                              All tangible and intangible property
      16 Robin Road
      Rye, NH 03870
      Creditor's mailing address                   Describe the lien
                                                   Revolving Credit Note
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/2/2020                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor       Sourcewater, Inc.                                                                     Case number (if known)       23-30960
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Small Business
2.3                                                                                                                         $492,322.00              Unknown
       Administration                              Describe debtor's property that is subject to a lien
       Creditor's Name                             All tangible and intangible property
       409 Third Street SW
       Washington, DC 20024
       Creditor's mailing address                  Describe the lien
                                                   EIDL
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       5/16/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $2,110,488.6
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       6

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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Fill in this information to identify the case:

Debtor name        Sourcewater, Inc.

United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF TEXAS

Case number (if known)           23-30960
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $3,964.11         $3,964.11
          Harris County, et al.                               Check all that apply.
          PO Box 3547                                            Contingent
          Houston, TX 77253-3547                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2020                                                Ad Valorem Taxes

          Last 4 digits of account number 0000                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $96,358.24          $13,650.00
          Joshua A. Adler                                     Check all that apply.
          16 Robin Road                                          Contingent
          Rye, NH 03870                                          Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2022-2023
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




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2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $10,907.99    $10,907.99
          Texas Comptroller of Public                          Check all that apply.
          Accounts                                                Contingent
          PO Box 13528                                            Unliquidated
          Capital Station                                         Disputed
          Austin, TX 78711-3528
          Date or dates debt was incurred                      Basis for the claim:
                                                               Sales and Use Tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,122.50
          Adaptive                                                               Contingent
          4446 Cedar Lake Road                                                   Unliquidated
          Minneapolis, MN 55416                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,650.00
          AirCall                                                                Contingent
          233 Park Avenue S.                                                     Unliquidated
          New York, NY 10003                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $49,304.77
          Amegy Bank                                                             Contingent
          Bankcard Center                                                        Unliquidated
          PO Box 25787                                                           Disputed
          Salt Lake City, UT 84125-0787
                                                                             Basis for the claim: Credit Card
          Date(s) debt was incurred
          Last 4 digits of account number 9057                               Is the claim subject to offset?     No       Yes


3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,752.50
          Amy Stewart Law                                                        Contingent
          5307 East Mockingbird Lane                                             Unliquidated
          Suite 425                                                              Disputed
          Dallas, TX 75206
                                                                             Basis for the claim: Professional Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $55,760.62
          AZA - Ahmad, Zavitsanos, Anaipakos                                     Contingent
          1221 McKinney                                                          Unliquidated
          Suite 2500                                                             Disputed
          Houston, TX 77010
                                                                             Basis for the claim: Professional Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $13,500.00
         Bonafide                                                     Contingent
         5318 Weslayan Street                                         Unliquidated
         Suite 128                                                    Disputed
         Houston, TX 77005
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $50,749.66
         BTG LLC                                                      Contingent
         210 Park Avenue                                              Unliquidated
         Suite 1350                                                   Disputed
         Oklahoma City, OK 73102
                                                                   Basis for the claim: Convertible Note
         Date(s) debt was incurred 3/12/20
         Last 4 digits of account number N002                      Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,970.00
         Business Wire, Inc.                                          Contingent
         Department 34182                                             Unliquidated
         PO Box 39000                                                 Disputed
         San Francisco, CA 94139
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,000.00
         ChurnZero, Inc.                                              Contingent
         4114 Blackthorn Street                                       Unliquidated
         Chevy Chase, MD 20815                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,500.00
         Crowe LLP                                                    Contingent
         PO Box 71570                                                 Unliquidated
         Chicago, IL 60694                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $150,000.00
         Crown Oil Partners LP                                        Contingent
         PO Box                                                       Unliquidated
         Midland, TX 79710                                            Disputed
         Date(s) debt was incurred 3/12/2020
                                                                   Basis for the claim: Convertible Note
         Last 4 digits of account number N003
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $43,000.00
         Cuebiq Inc.                                                  Contingent
         1460 Broadway                                                Unliquidated
         Suite 15006                                                  Disputed
         New York, NY 10036
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Sourcewater, Inc.                                                               Case number (if known)            23-30960
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,000.00
         Dunlap Codding                                               Contingent
         609 W. Sheridan Avenue                                       Unliquidated
         Oklahoma City, OK 73102                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,050.00
         DW House LLC                                                 Contingent
         2429 Bissonnet Street                                        Unliquidated
         #497                                                         Disputed
         Houston, TX 77005
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,575.00
         Eisner Advisory Group                                        Contingent
         733 Third Avenue                                             Unliquidated
         New York, NY 10017                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,500.00
         Experfy, Inc.                                                Contingent
         1700 West Park Drive                                         Unliquidated
         Suite 190                                                    Disputed
         Westborough, MA 01581
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,537.95
         Flash Data LLC                                               Contingent
         2450 Louisiana Street                                        Unliquidated
         400-160                                                      Disputed
         Houston, TX 77006
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,820.06
         Freeman Company                                              Contingent
         PO Box 734596                                                Unliquidated
         Dallas, TX 75373-4596                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,190.38
         Gish PLLC                                                    Contingent
         41 Madison Avenue                                            Unliquidated
         Floor 31                                                     Disputed
         New York, NY 10010
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Sourcewater, Inc.                                                               Case number (if known)            23-30960
            Name

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,800.00
         HUBSPOT                                                      Contingent
         25 1st Street                                                Unliquidated
         Cambridge, MA 02141                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $50,000.00
         John K. Hoskinson                                            Contingent
         888 17th Street NW                                           Unliquidated
         Suite 210                                                    Disputed
         Washington, DC 20006-3313
                                                                   Basis for the claim: Convertible Note
         Date(s) debt was incurred 3/12/20
         Last 4 digits of account number N004                      Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,489.95
         Medler Ferro Woodhouse & Mills PLC                           Contingent
         8201 Greensboro Drive                                        Unliquidated
         Suite 1060                                                   Disputed
         McLean, VA 22102
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,750.00
         Minerals & Royalty Authority                                 Contingent
         2602 Copperleaf Court                                        Unliquidated
         Katy, TX 77494                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $55.75
         Odetta, Inc.                                                 Contingent
         4023 Kennett Pike                                            Unliquidated
         #50380                                                       Disputed
         Wilmington, DE 19807
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,679.44
         Outlogic LLC                                                 Contingent
         6525 The Corners Parkway NW                                  Unliquidated
         Suite 400                                                    Disputed
         Norcross, GA 30092
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,085.24
         Piper Sandler & Co                                           Contingent
         609 Main Street                                              Unliquidated
         Suite 3800                                                   Disputed
         Houston, TX 77002
                                                                   Basis for the claim: Cost Reimbursement for Professionals
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Sourcewater, Inc.                                                               Case number (if known)            23-30960
            Name

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Ponderosa Advisors, LLC dba B3 Insight
         c/o Donald E. Lake, III                                      Contingent
         Lewis Brisbois et al                                         Unliquidated
         1700 Lincoln Street, Suite 4000                              Disputed
         Denver, CO 80203
                                                                   Basis for the claim: Legal Action
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,385.00
         QipWorks, Inc.                                               Contingent
         101 Arch Street                                              Unliquidated
         8th Floor                                                    Disputed
         Boston, MA 02110
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,333.33
         Scaleview                                                    Contingent
         701 Brazos Street                                            Unliquidated
         #530                                                         Disputed
         Austin, TX 78701
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $25,000.00
         Skip McBride                                                 Contingent
         807 Old Lake Road                                            Unliquidated
         Houston, TX 77057                                            Disputed
         Date(s) debt was incurred 3/12/2020
                                                                   Basis for the claim: Convertible Note
         Last 4 digits of account number N005
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $50,000.00
         Tony Annunziato                                              Contingent
         403 W. Cowan Drive                                           Unliquidated
         Houston, TX 77007                                            Disputed
         Date(s) debt was incurred 3/12/20
                                                                   Basis for the claim: Convertible Note
         Last 4 digits of account number N001
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,339.00
         Velotio Technologies Private Limited                         Contingent
         3rd Floor, AG Trade Center, Ram Magar, B                     Unliquidated
         Pune, Maharastra 411021, India                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,500.00
         Veraset LLC                                                  Contingent
         2810 N Church Street                                         Unliquidated
         #38188                                                       Disputed
         Wilmington, DE 19802
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor       Sourcewater, Inc.                                                                      Case number (if known)            23-30960
             Name

3.34      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $75,000.00
          William Crump Holdings LLC                                           Contingent
          PO Box 50820                                                         Unliquidated
          Midland, TX 79710                                                    Disputed
          Date(s) debt was incurred 3/12/2020
                                                                           Basis for the claim: Convertible Note
          Last 4 digits of account number N006
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Donald Patrick Arthur Yarborough
          Foster Yarborough PLLC                                                                    Line     3.27
          917 Franklin Street, Suite 220
                                                                                                           Not listed. Explain
          Houston, TX 77002

4.2       Jeannie Lee Andresen
          Linebarger Goggan Blair & Sampson LLP                                                     Line     2.1
          PO Box 3064
                                                                                                           Not listed. Explain
          Houston, TX 77253-3064

4.3       Jeffrey H. Kass
          Lewis Brisbois et al                                                                      Line     3.27
          1700 Lincoln, Suite 4000
                                                                                                           Not listed. Explain
          Denver, CO 80203

4.4       Joseph Y. Ahmad
          Ahmad Zavitsanos & Mensign, PLLC                                                          Line     3.27
          1221 McKinney Street, Suite 2 50
                                                                                                           Not listed. Explain
          Houston, TX 77010


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                     111,230.34
5b. Total claims from Part 2                                                                           5b.    +     $                     723,401.15

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                        834,631.49




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Fill in this information to identify the case:

Debtor name       Sourcewater, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     23-30960
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Software License
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          3 months                           Enhanced Midstream LLC
                                                                                    777 Main Street
           List the contract number of any                                          Suite 2800
                 government contract                                                Fort Worth, TX 76102


2.2.       State what the contract or            Software License
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          5 months, 27 days                  Silica Services
                                                                                    4440 State Hwy 121
           List the contract number of any                                          Suite 142
                 government contract                                                The Colony, TX 75056


2.3.       State what the contract or            Software License
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          18 months, 26 days                 Vector Energy Partners
                                                                                    777 Main Street
           List the contract number of any                                          Suite 3600
                 government contract                                                Fort Worth, TX 76102




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Fill in this information to identify the case:

Debtor name      Sourcewater, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)   23-30960
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Casee Lemon                 c/o Zach Wolfe                                            Ponderosa Advisors,                D
                                      Zach Wolfe Law Firm                                       LLC dba B3 Insight                 E/F       3.27
                                      50 Briar Hollow Lane, Suite 370 West
                                                                                                                                   G
                                      Houston, TX 77027




   2.2    Joshua A. Adler             16 Robin Road                                             Amegy Bank                         D
                                      Rye, NH 03870                                                                                E/F       3.3
                                      Guarantor
                                                                                                                                   G




   2.3    Joshua A. Adler             16 Robin Road                                             Ponderosa Advisors,                D
                                      Rye, NH 03870                                             LLC dba B3 Insight                 E/F       3.27
                                                                                                                                   G




   2.4    Joshua A. Adler             16 Robin Road                                             Small Business                     D   2.3
                                      Rye, NH 03870                                             Administration                     E/F
                                      Guarantor
                                                                                                                                   G




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Fill in this information to identify the case:

Debtor name         Sourcewater, Inc.

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)     23-30960
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $80,065.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $634,179.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $560,989.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              QipWorks, Inc.                                       1/25/20223                       $17,922.50           Secured debt
              101 Arch Street                                                                                            Unsecured loan repayments
              8th Floor
                                                                                                                         Suppliers or vendors
              Boston, MA 02110
                                                                                                                         Services
                                                                                                                         Other


      3.2.
              Velotio Technologies Private Limited                 1/13/23,                         $10,000.00           Secured debt
              3rd Floor, AG Trade Center, Ram                      2/13/23,                                              Unsecured loan repayments
              Magar, B                                             2/16/23
                                                                                                                         Suppliers or vendors
              Pune, Maharastra 411021, India
                                                                                                                         Services
                                                                                                                         Other


      3.3.
              Amegy Bank                                           1/6/23,                            $7,603.28          Secured debt
              Bankcard Center                                      1/19/23,                                              Unsecured loan repayments
              PO Box 25787                                         3/8/23
                                                                                                                         Suppliers or vendors
              Salt Lake City, UT 84125-0787
                                                                                                                         Services
                                                                                                                         Other


      3.4.
              Healthcare Services                                  1/13/23,                           $9,820.76          Secured debt
                                                                   2/28/23                                               Unsecured loan repayments
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.5.
              Small Business Administration                        1/9/23,                            $7,578.00          Secured debt
              409 Third Street SW                                  2/8/23, 3/8/23                                        Unsecured loan repayments
              Washington, DC 20024
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Energy Debt Holdings, LLC                            3/31/2022                        $18,793.56         Debt Service
              PO Box 249                                           6/30/2022
              Oklahoma City, OK 73101
              Lender/Owner of EDH was Director of
              Debtor




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      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.2.    Joshua A. Adler                                      3/31/2022                        $37,215.57           Wages
              16 Robin Road                                        3/31/2022
              Rye, NH 03870                                        4/15/2022
              Officer, Director, Stockholder                       4/29/2022
                                                                   5/13/2022
                                                                   5/31/2022
                                                                   6/15/2022
                                                                   6/30/2022
                                                                   7/15/2022
                                                                   8/1/2022
                                                                   8/15/2022
                                                                   8/31/2022
                                                                   9/15/2022

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Ponderosa Adveisors, LLC                 Trade                       U.S. District Court, SD TX                    Pending
              dba B3 Insight v.                        Secrets/Intellectua         515 Rusk                                      On appeal
              Sourcewater, Inc., Casee                 l Property                  Houston, TX 77002
                                                                                                                                 Concluded
              Lemon, and Joshua Adler
              4:21-cv-02810

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

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               Recipient's name and address            Description of the gifts or contributions                 Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Chamberlain Hrdlicka                                                                                   2/16/23:
                1200 Smith Street                                                                                      $10,000
                Suite 1400                                                                                             3/17/23:
                Houston, TX 77002                                                                                      $50,000                   $60,000.00

                Email or website address
                www.chamberlainlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     1801 Main Street                                                                                    2022-present
                Suite 1300
                Houston, TX 77002

      14.2.     801 Travis Street                                                                                   2021-2022
                Suite 1802
                Houston, TX 77002

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Shareholder/Noteholder Lists
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was              Last balance
              Address                                  account number              instrument                  closed, sold,             before closing or
                                                                                                               moved, or                          transfer
                                                                                                               transferred

19. Safe deposit boxes
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Debtor      Sourcewater, Inc.                                                                    Case number (if known) 23-30960



    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.



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Debtor      Sourcewater, Inc.                                                                   Case number (if known) 23-30960



      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Kim Neal                                                                                                           2020-present
                    Pump Up Profits, LLC
                    2105 Winebrook Court
                    Pearland, TX 77584

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Eisner Advisory Group
                    733 Third Avenue
                    New York, NY 10017
      26c.2.        Crowe LLP
                    PO Box 71570
                    Chicago, IL 60694

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        BTG LLC
                    210 Park Avenue
                    Suite 1350
                    Oklahoma City, OK 73102
      26d.2.        Crown Oil Partners LP
                    PO Box
                    Midland, TX 79710
      26d.3.        Joshua A. Adler
                    16 Robin Road
                    Rye, NH 03870
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      Name and address
      26d.4.        John K. Hoskinson
                    888 17th Street NW
                    Suite 210
                    Washington, DC 20006-3313
      26d.5.        Skip McBride
                    807 Old Lake Road
                    Houston, TX 77057
      26d.6.        Small Business Administration
                    14925 Kingsport Road
                    Fort Worth, TX 76155
      26d.7.        William Crump Holdings LLC
                    PO Box 50820
                    Midland, TX 79710
      26d.8.        Energy Debt Holdings, LLC
                    PO Box 249
                    Oklahoma City, OK 73101
      26d.9.        John Yurkanin


      26d.10.       M. Diane Bodman


      26d.11.       Miami Residential Holdings LLC


      26d.12.       Resilly Peck SW LLC


      26d.13.       Stanley Levin



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                    or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Joshua A. Adler                        16 Robin Road                                       CEO, Director                         100%
                                             Rye, NH 03870                                                                             Common
                                                                                                                                       Stock
                                                                                                                                       69.4821%
                                                                                                                                       Series A
                                                                                                                                       Preferred
      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      John Yurkanin                                                                              Director                              25,000 NSO




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29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                              Position and nature of any        Period during which
                                                                                                  interest                          position or interest
                                                                                                                                    was held
      Jay "North" Whipple                    210 Park Avenue                                      Director                          8/11/19 - 2/10/23
                                             Suite 1350
                                             Oklahoma City, OK 73102

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 14, 2023

/s/ Joshua A. Adler                                             Joshua A. Adler
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 75,000.00
             Prior to the filing of this statement I have received                                        $                 52,413.00
             Balance Due                                                                                  $                 22,587.00

2.   $      1,738.00       of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]
             Negotiate with creditors and parties in interest, assist in planning for the filing, assist in the preparation of
             necessary motions for relief, assist in resolving litigation claims, and planning for the orderly reorganization, as
             the case may be, of your financial affairs. After the petition is filed, prosecuting the bankruptcy case, appearing in
             court, negotiating with counterparties, analyzing claims (including litigation claims), and litigating to defend the
             plan through a court-approved process.

                  The engagement is on an hourly basis and the $75,000 is merely a retainer for such services. the filing fee will be
                  paid at the time of filing from these funds.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
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                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   April 14, 2023                                                        /s/ Jarrod B. Martin
   Date                                                                  Jarrod B. Martin
                                                                         Signature of Attorney
                                                                         Chamberlain, Hrdlicka, White, Williams, & Aughtry, P.C.
                                                                         1200 Smith Street
                                                                         Suite 1400
                                                                         Houston, TX 77002
                                                                         (713) 658-1818 Fax: (713) 658-2553
                                                                         jarrod.martin@chamberlainlaw.com
                                                                         Name of law firm
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                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
Annunziato 2020 Revocable Trust                         Series A             116,615                                 Stock
                                                        Preferred

Bamboo Capital, LP                                      Series A             46,646                                  Stock
                                                        Preferred

Barry LaKritz                                           Series A             23,323                                  Stock
                                                        Preferred

Briggsannah Energy, LP                                  Series A             46,646                                  Stock
                                                        Preferred

BTG LLC                                                 Series A             279,877                                 Stock
                                                        Preferred

BTG LLC                                                 Common Stock 216,000                                         Warrants
210 Park Avenue
Suite 1350
Oklahoma City, OK 73102

CAMPR II LLP                                            Series A             69,969                                  Stock
                                                        Preferred

John Hoskinson                                          Series A             84,881                                  Stock
                                                        Preferred

Joshua A. Adler                                         Series A             2,873,878                               Stock
16 Robin Road                                           Preferred
Rye, NH 03870

Joshua A. Adler                                         Common               4,000,000                               Stock
16 Robin Road
Rye, NH 03870

M. Diane Bodman                                         Series A             46,646                                  Stock
                                                        Preferred

Miami Residential Holdings LLC                          Series A             69,969                                  Stock
                                                        Preferred

Resilly Peck SW LLC                                     Series A             93,292                                  Stock
                                                        Preferred



Sheet 1 of 2 in List of Equity Security Holders
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                                                                                 Debtor(s)



                                               LIST OF EQUITY SECURITY HOLDERS
                                                                   (Continuation Sheet)

Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
business of holder

Skip McBride                                                Series A              46,646                                    Stock
                                                            Preferred

Stanley Levin                                               Series A              337,753                                   Stock
                                                            Preferred


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



Date April 14, 2023                                                      Signature /s/ Joshua A. Adler
                                                                                        Joshua A. Adler

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                                      Southern District of Texas
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                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:     April 14, 2023                                 /s/ Joshua A. Adler
                                                         Joshua A. Adler/Chief Executive Officer
                                                         Signer/Title
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    ADAPTIVE
    4446 CEDAR LAKE ROAD
    MINNEAPOLIS, MN 55416




    AIRCALL
    233 PARK AVENUE S.
    NEW YORK, NY 10003




    AMEGY BANK
    BANKCARD CENTER
    PO BOX 25787
    SALT LAKE CITY, UT 84125-0787



    AMY STEWART LAW
    5307 EAST MOCKINGBIRD LANE
    SUITE 425
    DALLAS, TX 75206



    AZA - AHMAD, ZAVITSANOS, ANAIPAKOS
    1221 MCKINNEY
    SUITE 2500
    HOUSTON, TX 77010



    BONAFIDE
    5318 WESLAYAN STREET
    SUITE 128
    HOUSTON, TX 77005



    BTG LLC
    210 PARK AVENUE
    SUITE 1350
    OKLAHOMA CITY, OK 73102



    BUSINESS WIRE, INC.
    DEPARTMENT 34182
    PO BOX 39000
    SAN FRANCISCO, CA 94139
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CASEE LEMON
C/O ZACH WOLFE
ZACH WOLFE LAW FIRM
50 BRIAR HOLLOW LANE, SUITE 370 WEST
HOUSTON, TX 77027


CHURNZERO, INC.
4114 BLACKTHORN STREET
CHEVY CHASE, MD 20815




CROWE LLP
PO BOX 71570
CHICAGO, IL 60694




CROWN OIL PARTNERS LP
PO BOX
MIDLAND, TX 79710




CUEBIQ INC.
1460 BROADWAY
SUITE 15006
NEW YORK, NY 10036



DONALD PATRICK ARTHUR YARBOROUGH
FOSTER YARBOROUGH PLLC
917 FRANKLIN STREET, SUITE 220
HOUSTON, TX 77002



DUNLAP CODDING
609 W. SHERIDAN AVENUE
OKLAHOMA CITY, OK 73102




DW HOUSE LLC
2429 BISSONNET STREET
#497
HOUSTON, TX 77005
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EISNER ADVISORY GROUP
733 THIRD AVENUE
NEW YORK, NY 10017




ENERGY DEBT HOLDINGS, LLC
PO BOX 249
OKLAHOMA CITY, OK 73101




ENHANCED MIDSTREAM LLC
777 MAIN STREET
SUITE 2800
FORT WORTH, TX 76102



EXPERFY, INC.
1700 WEST PARK DRIVE
SUITE 190
WESTBOROUGH, MA 01581



FLASH DATA LLC
2450 LOUISIANA STREET
400-160
HOUSTON, TX 77006



FREEMAN COMPANY
PO BOX 734596
DALLAS, TX 75373-4596




GISH PLLC
41 MADISON AVENUE
FLOOR 31
NEW YORK, NY 10010



HARRIS COUNTY, ET AL.
PO BOX 3547
HOUSTON, TX 77253-3547
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HUBSPOT
25 1ST STREET
CAMBRIDGE, MA 02141




JEANNIE LEE ANDRESEN
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
PO BOX 3064
HOUSTON, TX 77253-3064



JEFFREY H. KASS
LEWIS BRISBOIS ET AL
1700 LINCOLN, SUITE 4000
DENVER, CO 80203



JOHN K. HOSKINSON
888 17TH STREET NW
SUITE 210
WASHINGTON, DC 20006-3313



JOSEPH Y. AHMAD
AHMAD ZAVITSANOS & MENSIGN, PLLC
1221 MCKINNEY STREET, SUITE 2 50
HOUSTON, TX 77010



JOSHUA A. ADLER
16 ROBIN ROAD
RYE, NH 03870




MEDLER FERRO WOODHOUSE & MILLS PLC
8201 GREENSBORO DRIVE
SUITE 1060
MCLEAN, VA 22102



MINERALS & ROYALTY AUTHORITY
2602 COPPERLEAF COURT
KATY, TX 77494
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ODETTA, INC.
4023 KENNETT PIKE
#50380
WILMINGTON, DE 19807



OUTLOGIC LLC
6525 THE CORNERS PARKWAY NW
SUITE 400
NORCROSS, GA 30092



PIPER SANDLER & CO
609 MAIN STREET
SUITE 3800
HOUSTON, TX 77002



PONDEROSA ADVISORS, LLC DBA B3 INSIGHT
C/O DONALD E. LAKE, III
LEWIS BRISBOIS ET AL
1700 LINCOLN STREET, SUITE 4000
DENVER, CO 80203


QIPWORKS, INC.
101 ARCH STREET
8TH FLOOR
BOSTON, MA 02110



SCALEVIEW
701 BRAZOS STREET
#530
AUSTIN, TX 78701



SILICA SERVICES
4440 STATE HWY 121
SUITE 142
THE COLONY, TX 75056



SKIP MCBRIDE
807 OLD LAKE ROAD
HOUSTON, TX 77057
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SMALL BUSINESS ADMINISTRATION
409 THIRD STREET SW
WASHINGTON, DC 20024




TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
PO BOX 13528
CAPITAL STATION
AUSTIN, TX 78711-3528



TONY ANNUNZIATO
403 W. COWAN DRIVE
HOUSTON, TX 77007




VECTOR ENERGY PARTNERS
777 MAIN STREET
SUITE 3600
FORT WORTH, TX 76102



VELOTIO TECHNOLOGIES PRIVATE LIMITED
3RD FLOOR, AG TRADE CENTER, RAM MAGAR, B
PUNE, MAHARASTRA 411021, INDIA




VERASET LLC
2810 N CHURCH STREET
#38188
WILMINGTON, DE 19802



WILLIAM CRUMP HOLDINGS LLC
PO BOX 50820
MIDLAND, TX 79710
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                                               Southern District of Texas
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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Sourcewater, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 14, 2023                                 /s/ Jarrod B. Martin
Date                                           Jarrod B. Martin
                                               Signature of Attorney or Litigant
                                               Counsel for Sourcewater, Inc.
                                               Chamberlain, Hrdlicka, White, Williams, & Aughtry, P.C.
                                               1200 Smith Street
                                               Suite 1400
                                               Houston, TX 77002
                                               (713) 658-1818 Fax:(713) 658-2553
                                               jarrod.martin@chamberlainlaw.com
